United States District Court
Northern District of California

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JUL 710 2020
SUSAN Y, SOONG
CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORMA
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,
Plaintiff, No. CR 16-0440 WHA
Vv.
YEVGENIY ALEKSANDROVICH SPECIAL VERDICT FORM

NIKULIN,
Defendant.

 

 

 

YOU MAY APPROACH THE FOLLOWING QUESTIONS IN ANY ORDER YOU
WISH, BUT YOUR ANSWERS MUST BE UNANIMOUS.

1. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Computer Intrusion, in violation of Title 18, United States Code,
Section 1030(a)(2) as charged in Count One of the indictment? That is, on
approximately March 3, 2012, and continuing to approximately March 4, 2012, in the
Northern District of California and elsewhere, the defendant used the Internet to access

computers belonging to LinkedIn Corporation and obtained information.

Yes, Guilty / No, Not Guilty

 
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Northern District of California

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a. Ifyou found the defendant guilty as to Count One, do you also find beyond a
reasonable doubt that the offense was committed for purposes of commercial

advantage or private financial gain?

Yes S No |

b. If you found the defendant guilty as to Count One, do you also find beyond a

reasonable doubt that the value of the information obtained exceeded $5,000?
Yes Y No

2. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Intentional Transmission Causing Damage to a Protected Computer,
in violation of Title 18, United States Code, Section 1030(a)(5)(A) as charged in Count
Two of the indictment? That is, starting on or about March 3, 2012, and continuing
through on or about March 4, 2012, in the Northern District of California and
elsewhere, the defendant knowingly transmitted a program, information, or code, or

command to a computer belonging to LinkedIn Corporation employee N.B.
Yes, Guilty No, Not Guilty

a. If you found the defendant guilty as to Count Two, do you also find beyond a
reasonable doubt that the offense caused loss to one or more persons during any
one-year period aggregating at least $5,000 in value?

SY

Yes No

 
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3. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Aggravated Identity Theft, in violation of Title 18, United States
Code, Section 1028A as charged in Count Three of the indictment? That is, beginning
on approximately March 3, 2012, and continuing to approximately March 4, 2012, in
the Northern District of California and elsewhere, the defendant possessed and used the

username and password assigned to LinkedIn Corporation employee N.B.
Yes, Guilty S No, Not Guilty

4. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Computer Intrusion, in violation of Title 18, United States Code,
Section 1030(a)(2) as charged in Count Four of the indictment? That is, beginning on
approximately May 14, 2012, and continuing to approximately July 25, 2012, in the
Northern District of California and elsewhere, the defendant used the Internet to access

computers belonging to Dropbox Inc. and obtained information.
Yes, Guilty No, Not Guilty

a. If you found the defendant guilty as to Count Four, do you also find beyond a
reasonable doubt that the offense was committed for purposes of commercial

advantage or private financial gain?
Yes No Yi

b. Ifyou found the defendant guilty as to Count Four, do you also find beyond a

reasonable doubt that the value of the information obtained exceeded $5,000?

Yes Va No

 
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5. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Conspiracy, in violation of Title 18, United States Code, Section
371 as charged in Count Five of the indictment? That is, beginning on a date unknown
and continuing to on or about May 31, 2012, in the Northern District of California and
elsewhere, the defendant conspired to knowingly and with intent to defraud, traffic in
unauthorized access devices, that is, usernames, email addresses, and passwords

belonging to customers of Formspring Inc.
Yes, Guilty 4 No, Not Guilty

6. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Trafficking in Unauthorized Access Devices, in violation of Title
18, United States Code, Section 1029(a)(2) as charged in Count Six of the indictment?
That is, beginning on a date unknown and continuing to approximately September 19,
2012, in the Northern District of California and elsewhere, the defendant knowingly
and with intent to defraud, trafficked in unauthorized access devices, that is, usernames,

email addresses, and passwords belonging to customers of Formspring Inc.
Yes, Guilty Y No, Not Guilty

7. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Computer Intrusion in violation of Title 18, United States Code,
Section 1030(a)(2) as charged in Count Seven of the indictment? That is, beginning on
approximately June 13, 2012, and continuing to approximately June 29, 2012, in the
Northern District of California and elsewhere, the defendant used the Internet to access
computers belonging to Formspring Inc. and obtained information.

SO No, Not Guilty

Yes, Guilty

 
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a. If you found the defendant guilty as to Count Seven, do you also find beyond a
reasonable doubt that the offense was committed for purposes of commercial

advantage or private financial gain?

Yes No vo

b. If you found the defendant guilty as to Count Seven, do you also find beyond a

reasonable doubt that the value of the information obtained exceeded $5,000?

Yes / No

8. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Intentional Transmission Causing Damage to a Protected Computer,
in violation of Title 18, United States Code, Section 1030(a)(5)(A) as charged in Count
Eight of the indictment? That is, starting on or about June 13, 2012, and continuing
through on or about June 29, 2012, in the Northern District of California and elsewhere,
the defendant knowingly transmitted a program, information, code, or command to a

computer belonging to Formspring Inc.
Yes, Guilty SY No, Not Guilty

a. If you found the defendant guilty as to Count Eight, do you also find beyond a
reasonable doubt that the offense caused loss to one or more persons during any

one-year period aggregating at least $5,000 in value?

Yes v No

 
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9. Has the government proven beyond a reasonable doubt that defendant Yevgeniy
Nikulin is guilty of Aggravated Identity Theft, in violation of Title 18, United States
Code, Section 1028A as charged in Count Nine of the indictment? That is, beginning
on approximately June 13, 2012, and continuing to approximately June 29, 2012, in the
Northern District of California and elsewhere, the defendant possessed and used the

username and password assigned to Formspring Inc. employee J.S.

Yes, Guilty S No, Not Guilty

When this form is completed, the jury foreperson should date and sign it and advise the

Court that you have reached a verdict.

Dated:

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ee
FOREPERSON

 
